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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF TEXAS
                                       MARSHALL DIVISION



      GODO KAISHA IP BRIDGE 1,

                     Plaintiff,                            Case No. 2:16-cv-134-JRG-RSP

             v.

      BROADCOM LIMITED, BROADCOM
      CORPORATION, AVAGO TECHNOLOGIES,
      LTD., AVAGO TECHNOLOGIES U.S., INC.,
      and LSI CORPORATION,

                     Defendants.


                       ORDER GRANTING JOINT MOTION TO DISMISS ALL
                        CLAIMS AND COUNTERCLAIMS WITH PREJUDICE
  .
             Before the Court is Plaintiff Godo Kaisha IP Bridge 1 (“IP Bridge”) and Defendants

      Broadcom Limited, Broadcom Corporation, Avago Technologies, Ltd., Avago Technologies

      U.S., Inc., and LSI Corporation’s (collectively “Broadcom”) joint motion to dismiss all claims

      and counterclaims in this action with prejudice, with each party to bear its own costs, expenses,

      and attorneys’ fees. Having considered the motion, the Court is of the opinion the motion should

      be GRANTED.

             IT IS THEREFORE ORDERED that all claims and counterclaims in the present action

      are dismissed with prejudice, with each party to bear its own costs, expenses, and attorneys’ fees.
              SIGNED this 3rd day of January, 2012.
             SIGNED this 5th day of July, 2017.




                                                          ____________________________________
                                                          ROY S. PAYNE
                                                          UNITED STATES MAGISTRATE JUDGE
